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  In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 21-0366V


 MARVIN WALKER,                                              Chief Special Master Corcoran

                         Petitioner,                         Filed: May 24, 2024
 v.

 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                        Respondent.


Jeffrey S. Pop, Jeffrey S. Pop & Associates, Beverly Hills, CA, for Petitioner.

Alexa Roggenkamp, U.S. Department of Justice, Washington, DC, for Respondent.

  FINDINGS OF FACT AND CONCLUSIONS OF LAW DISMISSING TABLE CLAIM 1

       On January 8, 2021, Marvin Walker filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that he suffered a left shoulder injury related to vaccine
administration (“SIRVA”) following an influenza ("flu”) vaccine he received on November
1, 2019. Amended Petition at 1. The case was assigned to the Special Processing Unit
of the Office of Special Masters (the “SPU”).




1 Because this Fact Ruling contains a reasoned explanation for the action taken in this case, it must be

made publicly accessible and will be posted on the United States Court of Federal Claims' website, and/or
at https://www.govinfo.gov/app/collection/uscourts/national/cofc, in accordance with the E-Government
Act of 2002. 44 U.S.C. § 3501 note (2018) (Federal Management and Promotion of Electronic Government
Services). This means the Fact Ruling will be available to anyone with access to the internet. In
accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other
information, the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I
agree that the identified material fits within this definition, I will redact such material from public access.

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease

of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2018).
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       For the reasons discussed below, Petitioner’s Table SIRVA claim must be
dismissed. The evidentiary record does not support the conclusion that the requisite onset
of pain occurred within 48 hours following administration of the flu vaccine.

      I.       Relevant Procedural History

       On March 28, 2023, about 26 months after the case was initiated, Respondent
filed a Rule 4(c) Report arguing that Petitioner had not established entitlement to
compensation. ECF No. 26. In particular, Respondent argues that Petitioner failed to
provide preponderant evidence that the onset of his shoulder pain occurred within 48
hours after his flu vaccination. Rule 4(c) Report at 6-7.
      Thereafter, Petitioner filed a Brief in Support of Onset on June 23, 2023. ECF No.
30. Respondent filed a responsive brief (“Resp.”) on July 28, 2023. ECF No. 31.
            The matter is now ripe for adjudication.
      II.      Relevant Factual History

               A. Medical Records

      Petitioner received a flu vaccine in his left deltoid on November 1, 2019, in Athens,
Ohio. Ex. 3 at 2.
       On March 18, 2020 (four and a half months after vaccination), Petitioner saw his
primary care physician (“PCP”) for his left shoulder pain. Ex. 4 at 24. The record states
that Petitioner reported “pain in left shoulder x 1.5 months.” Id. (If correct, this would place
onset in the winter of 2020 – two to three months post-vaccination). Petitioner reported
that he stopped taking his medications because he thought they might be causing the
pain. Id. Petitioner was referred to an orthopedist and to physical therapy. Id. at 26.
        A month later, on April 27, 2020, Petitioner saw an orthopedist. Ex. 5 at 40. The
records states that “Marvin for about 2-1/2 months has had increasing left shoulder pain.”
Id. at 41. The pain was disrupting Petitioner’s sleep. Id. The orthopedist assessed “a
biceps compensating for a rotator cuff tendon tear left shoulder.” Id. at 43. A Kenalog
injection was administered. Id.
       Petitioner returned to his orthopedist on June 3, 2020. Ex. 5 at 34. Petitioner
reported temporary relief from the injection and slight improvement from physical therapy
exercises. 3 Id. at 35. An MRI was ordered. Id.



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    Petitioner did not file any records of formal physical therapy treatment at that time.

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       Petitioner saw his PCP on June 16, 2020. Ex. 4 at 18. The doctor recorded in the
“subjective” portion of the record: “left shoulder pain – 3-4 months. ROM is affected. Seen
ortho – waiting for the MRI – is the same.” Id.
       Petitioner had an MRI on July 6, 2020. Ex. 6 at 61. Petitioner reported that “his arm
ha[d] not been right since he was given the flu shot.” Id. at 64. The reason for the exam
was recorded as “left shoulder pain x 4 months.” Id. The MRI revealed moderate
supraspinatus tendinosis with a high-grade partial-thickness tear, mild tendinosis of the
infraspinatus and subscapularis tendons, proximal biceps tendinosis, and mild-to-
moderate acromioclavicular joint osteoarthritis. Id.
        Petitioner follow up with his orthopedist on July 15, 2020. Ex. 5 at 24. Petitioner
attributed his shoulder pain to his flu shot, stating that “he has never had problems before
that.” Id. at 25. Based on his MRI findings, Petitioner was scheduled for arthroscopic
surgery. Id. at 27-28.
        Petitioner underwent arthroscopic surgery with rotator cuff debridement, distal
clavicle resection, subacromial decompression, and limited debridement with open
subpectoral biceps tenodesis on July 31, 2020. Ex. 6 at 10. Petitioner continued to treat
his post-operative left shoulder through early 2022. Ex. 17 at 14.
        On September 23, 2022, Petitioner complained of “L arm weakness onset in 2019
after flu shot reaction to muscle.” Ex. 17 at 20. He stated that he “has not had normal
strength since,” despite his surgery. Id. He was referred to physical therapy. Id. at 22.
           B. Affidavit Testimony

                   i. Petitioner’s Declarations

        Petitioner filed three declarations in support of his claim. Ex. 1, 13, 24. In his first
declaration, dated January 7, 2021, Petitioner stated that “shortly following the
vaccination, [he] developed left shoulder pain. Ex. 1 at ¶5. In his supplemental
declaration, dated July 31, 2021, clarified that he developed shoulder pain “in the evening
after [his] flu vaccination.” Ex. 13 at ¶2. He stated that he “woke up from [his] sleep from
the pain and knew that something was not right with [his] shoulder.” Id. In his second
supplemental declaration, dated June 16, 2023, Petitioner added that his “left arm pain
continued the next day and as time passed the pain continued.” Ex. 24 at ¶5.
       Petitioner stated that “within a few weeks” he “thought that the pain might be
caused by [his] mediations for diabetes and high cholesterol.” Ex. 13 at ¶8. He stopped
taking the medications but did not experience relief. Id. He explained that previously when
he experienced pain after a flu shot, the pain resolved on its own. Ex. 24 at ¶6. He did not
know that a flu shot could cause injury “for many months after [his] flu vaccination.” Id.


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        Petitioner experienced pain between December 2019 and February 2020, “but
believed it would improve in time.” Ex. 13 at ¶9; Ex. 24 at ¶11. Although he mentioned his
shoulder pain to friends and family during this time, he did not mention his flu shot
“because [he] did not want to appear dumb.” Ex. 24 at ¶7, 10. He recalled his brother-in-
law telling him that his shoulder pain after a flu shot lasted for five weeks before resolving.
Id. at ¶9. But, by “mid-February 2020, [he] decided to see a doctor, but it took time to get
an appointment.” Ex. 13 at ¶9.
       Petitioner also stated that at his first visit with his PCP for shoulder pain on March
18, 2020, he told his doctor that “the shoulder pain had worsened and become more
constant in the last 1.5 months.” Ex. 13 at ¶10; Ex. 24 at ¶14. He did not mention his flu
shot “because [he] did not think it could cause [his] injury and [he] did not want to appear
stupid.” Ex. 24 at ¶14. Petitioner states that he also told his orthopedist at his first
appointment on April 27, 2020, that “in the last 2.5 months [his] left shoulder pain had
increased.” Ex. 13 at ¶12.
      Petitioner did not learn that a vaccination could cause a shoulder injury until mid-
June 2020 after a discussion with friends and family. Ex. 24 at ¶15.
                  ii. Witness Declarations


       Patrick C. Thomas, Petitioner’s brother-in-law, submitted a declaration dated June
16, 2023. Ex. 19. Mr. Thomas remembered Petitioner telling him about left shoulder pain
“in November or December 2019.” Id. at ¶7. He recalled that Petitioner had mentioned a
“flu shot in November of 2019 and that something had not felt right with his left shoulder
since.” Id. at ¶8. He believed that conversation “was about two (2) months after
September 21, 2019,” which was the day Mr. Thomas had gotten his flu shot. Id. Mr.
Thomas told Petitioner that he experienced pain after his flu shot, but that it resolved in
about five weeks. Id. at ¶9.
       Sidney Walker, Petitioner’s cousin, submitted a declaration dated June 9, 2023.
Ex. 20. Mr. Walker recalled that “in the later part of 2019, Petitioner told [him] he was
planning on getting a flu shot” and “a few days later,” he “complained that something was
not right with his left shoulder.” Id. at ¶8. He recalled that “for months, Petitioner would
say that he thought that the pain would go away on its own.” Id. at ¶10.
        Sherry Walker, Sidney Walker’s former spouse, submitted a declaration dated
June 13, 2023. Ex. 21. Ms. Walker recalled that, “sometime in the later part of 2019,”
Petitioner told her that he “recently had a flu shot in his left shoulder and that he had a
sore shoulder and arm since that shot.” Id. at ¶6. She remembered primarily using his
right arm during the visit and massaging his left shoulder. Id.



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       Jodie Tabler, Petitioner’s longtime friend, submitted a declaration dated June 7,
2023. Ex. 22. Ms. Tabler noted that Petitioner frequently volunteered to help with her
businesses. Id. at ¶6. She remembered that “before Thanksgiving in November of 2019,”
Petitioner told her he was unable to continue helping with her businesses due to his left
shoulder pain. Id. at ¶8. Ms. Tabler also remembered that Petitioner told her that he “had
learned from a friend that vaccinations could cause shoulder injuries like his” and that he
“had then realized that the vaccination was the only thing that could have caused his pain
being that his pain started the same day he got a flu vaccination in November 2019.” Id.
at ¶13.
        Diane Lucas, Petitioner’s niece, submitted a declaration dated June 10, 2023. Ex.
23. Ms. Lucas described how she hosted family meals on Saturdays, which are attended
by Petitioner. Id. at ¶5. She recalled at “one of those Saturday meals in late 2019, that
Petitioner told [her] that he had pain in his left shoulder.” Id. at ¶6. Petitioner told her that
he first thought his pain was caused by his medications, but that he had stopped taking
them without relief. Id. at ¶7. During subsequent weekly meals, Ms. Lucas observed
Petitioner having “difficulty picking up drinks and plates with his left arm” so that other
family members brought food and drink to him. Id. at ¶8. Mr. Lucas also recalled that
Petitioner told her that “even though the pain had started immediately after his
vaccination, he did not know vaccinations could cause shoulder damage since he had
never heard of it happening to anyone before.” Id. at ¶11.
   III.    Applicable Legal Standards

        Pursuant to Vaccine Act Section 13(a)(1)(A), a petitioner must prove, by a
preponderance of the evidence, the matters required in the petition by Section 11(c)(1).
A special master must consider, but is not bound by, any diagnosis, conclusion, judgment,
test result, report, or summary concerning the nature, causation, and aggravation of
petitioner’s injury or illness that is contained in a medical record. Section 13(b)(1).
“Medical records, in general, warrant consideration as trustworthy evidence. The records
contain information supplied to or by health professionals to facilitate diagnosis and
treatment of medical conditions. With proper treatment hanging in the balance, accuracy
has an extra premium. These records are also generally contemporaneous to the medical
events.” Cucuras v. Sec’y of Health & Human Servs., 993 F.2d 1525, 1528 (Fed. Cir.
1993).

       Accordingly, where medical records are clear, consistent, and complete, they
should be afforded substantial weight. Lowrie v. Sec’y of Health & Human Servs., No. 03-
1585V, 2005 WL 6117475, at *20 (Fed. Cl. Spec. Mstr. Dec. 12, 2005). However, this rule
does not always apply. In Lowrie, the special master wrote that “written records which
are, themselves, inconsistent, should be accorded less deference than those which are


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internally consistent.” Lowrie, at *19. And the Federal Circuit recently “reject[ed] as
incorrect the presumption that medical records are accurate and complete as to all the
patient’s physical conditions.” Kirby v. Sec’y of Health & Human Servs., 997 F.3d 1378,
1383 (Fed. Cir. 2021).

        The United States Court of Federal Claims has recognized that “medical records
may be incomplete or inaccurate.” Camery v. Sec’y of Health & Human Servs., 42 Fed.
Cl. 381, 391 (1998). The Court later outlined four possible explanations for
inconsistencies between contemporaneously created medical records and later
testimony: (1) a person’s failure to recount to the medical professional everything that
happened during the relevant time period; (2) the medical professional’s failure to
document everything reported to her or him; (3) a person’s faulty recollection of the events
when presenting testimony; or (4) a person’s purposeful recounting of symptoms that did
not exist. La Londe v. Sec’y of Health & Human Servs., 110 Fed. Cl. 184, 203-04 (2013),
aff’d, 746 F.3d 1335 (Fed. Cir. 2014).

       The Court has also said that medical records may be outweighed by testimony that
is given later in time that is “consistent, clear, cogent, and compelling.” Camery, 42 Fed.
Cl. at 391 (citing Blutstein v. Sec’y of Health & Human Servs., No. 90-2808, 1998 WL
408611, at *5 (Fed. Cl. Spec. Mstr. June 30, 1998). The credibility of the individual offering
such testimony must also be determined. Andreu v. Sec’y of Health & Human Servs., 569
F.3d 1367, 1379 (Fed. Cir. 2009); Bradley v. Sec’y of Health & Human Servs., 991 F.2d
1570, 1575 (Fed. Cir. 1993).

        A special master may find that the first symptom or manifestation of onset of an
injury occurred “within the time period described in the Vaccine Injury Table even though
the occurrence of such symptom or manifestation was not recorded or was incorrectly
recorded as having occurred outside such period.” Section 13(b)(2). “Such a finding may
be made only upon demonstration by a preponderance of the evidence that the onset [of
the injury] ... did in fact occur within the time period described in the Vaccine Injury Table.”
Id.

       The special master is obligated to fully consider and compare the medical records,
testimony, and all other “relevant and reliable evidence contained in the record.” La
Londe, 110 Fed. Cl. at 204 (citing § 12(d)(3); Vaccine Rule 8); see also Burns v. Sec’y of
Health & Human Servs., 3 F.3d 415, 417 (Fed. Cir. 1993) (holding that it is within the
special master's discretion to determine whether to afford greater weight to medical
records or to other evidence, such as oral testimony surrounding the events in question
that was given at a later date, provided that such determination is rational).



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   IV.    Finding of Fact - Onset

        Respondent maintains that Petitioner has not established the required onset for a
Table SIRVA because “the contemporaneous medical evidence clearly and consistently
places onset of Petitioner’s shoulder pain in February 2020.” Resp. at 9. Petitioner
argues, by contrast, that the records closest in time to vaccination are incomplete on the
issue of onset, or confirm that Petitioner experienced the onset of pain within 48 hours of
vaccination. Br. at 23-24. He further argues that his own declaration and the declarations
of his witnesses provide preponderant evidence that outweighs the one record he argues
is ambiguous. Id.
        While I acknowledge that the standard applied to resolving onset for an alleged
Table SIRVA is liberal and will often permit a determination in a petitioner’s favor,
especially in the absence of fairly contemporaneous and direct statements within the
petitioner’s medical records to the contrary, not every case can be so preponderantly
established. Ultimately, the resolution of such fact issues involves weighing different items
of evidence against the overall record.

       In this case, there are several contemporaneous records placing onset well outside
the 48 hours period after vaccination and very little evidence supporting Table onset.
Three of the medical records closest in time to Petitioner’s vaccination consistently
establish the onset of Petitioner’s shoulder pain as beginning in February to March 2020,
several months after his vaccination.

        For example, Petitioner’s PCP recorded at his March 18, 2020 appointment that
Petitioner reported pain in his left shoulder for the past 1.5 months. Ex. 4 at 24. A month
later, at his orthopedist appointment, Petitioner reported “for about 2-1/2 months ha[ving]
had increasing left shoulder pain,” consistent with his reporting one month prior. Ex. 5 at
41. The specific language of that record in fact suggests that the total duration of pain
was 2.5 months, with severity increasing during that time. On June 16, 2020, Petitioner
returned to his PCP, who recorded “3-4 months” of left shoulder pain, again placing onset
around February or March 2020. Ex. 4 at 18. Although Petitioner argues that his
descriptions in those records of “increasing left shoulder pain” establishes that his pain
was present earlier, the records specifically refute this contention. Br. at 24.

       The first time Petitioner linked his shoulder pain to his flu shot was during his July
6, 2020 MRI, when he told the technician that “his arm ha[d] not been right since he was
given the flu shot.” Ex. 6 at 64. Petitioner again attributed his shoulder pain to his flu shot
to his orthopedist on July 15, 2020. Ex. 5 at 25. However, those records were created
more than six months post-vaccination, after prior records reporting a later onset – and
they do not even specifically place onset within 48 hours of vaccination. Petitioner did not

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again report earlier onset of his shoulder symptoms until September 23, 2022, when he
reported that he had experienced left arm weakness with an “onset in 2019 after flu shot
reaction to muscle.” Ex. 17 at 20. None of these records provide sufficient specificity as
to onset to outweigh the earlier records suggesting onset of pain in February or March
2020.
       Further, the affidavit testimony offered in this case does not rebut the
contemporaneous records. Other than Petitioner himself, none of the witnesses even
address pain onset to any sufficient degree. For example, Mr. Thomas recalled Petitioner
having shoulder pain “in November or December 2019” and Ms. Tabler recalled learning
of Petitioner’s pain “before Thanksgiving in November of 2019.” Ex. 19 at ¶7; Ex. 22 at
¶8. At best, Mr. Walker recalled that “in the later part of 2019, Petitioner told [him] he was
planning on getting a flu shot” and “a few days later,” he “complained that something was
not right with his left shoulder.” Ex. 20 at ¶8.

       Certainly, there are situations in which compelling testimony may be more
persuasive than written records, such as where records are deemed to be incomplete or
inaccurate, or where the witness statement provides additional detail or amplifies a record
silent on a topic. Campbell v. Sec'y of Health & Human Servs., 69 Fed. Cl. 775, 779
(2006) (“like any norm based upon common sense and experience, this rule should not
be treated as an absolute and must yield where the factual predicates for its application
are weak or lacking”); Lowrie v. Sec'y of Health & Human Servs., No. 03-1585V, 2005
WL 6117475, at *19 (Fed. Cl. Spec. Mstr. Dec. 12, 2005) (“[w]ritten records which are,
themselves, inconsistent, should be accorded less deference than those which are
internally consistent”) (quoting Murphy v. Sec'y of Health & Human Servs., 23 Cl. Ct. 726,
733 (1991), aff'd per curiam, 968 F.2d 1226 (Fed. Cir. 1992)). But, here, the testimony is
not sufficiently consistent nor compelling to outweigh the sequential and
contemporaneous medical records.

        Finally, Petitioner has attempted to provide credible explanations as to why the
contemporaneous records reference dates in February or March 2020. He explained that
he did not understand that a flu shot could cause a shoulder injury, that he did not want
to appear uneducated, and that he believed his pain would resolve with time. Ex. 13 at
¶9, Ex. 24 at ¶6, 7, 11, 14. But Petitioner’s belief that his symptoms would resolve with
time, or that a flu shot could not cause injury, do not have any impact on the question of
when his pain started. A claimant might well delay treatment for these reasons, while also
able to show (for example, via a first treatment record) that he associated the pain with
vaccination. The records do not support this determination. Petitioner also states that he
told his first providers that his pain “increased” during the reported timeframes. Ex. 13 at
¶10, 12. However, there is no explanation for why Petitioner would not have mentioned
continuous pain over four or five months, even if that pain worsened more recently.

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       Accordingly, I find Petitioner has not preponderantly established that onset of his
pain occurred within 48 hours of vaccination – meaning that he cannot proceed in this
action with a Table SIRVA claim. In fact, my experience litigating SIRVA claims that “Fall
out” of the Table suggests that the onset time most preponderantly supported by the
record – some time after January 1, 2020, and hence more than two months post-
vaccination – cannot be linked to the vaccine even under a causation theory. Petitioner
accordingly should consider dismissal of the claim; otherwise, he will be required to show
cause why a non-Table version of such a claim might succeed, given the long post-
vaccination onset.
                                      Conclusion

       Because Petitioner has not preponderantly established that the onset of his
shoulder pain occurred within 48 hours of vaccination, he cannot proceed in this action
with a Table SIRVA claim. Petitioner’s Table SIRVA claim is therefore dismissed.

      If Petitioner wishes to proceed with a non-Table claim, then on or before Friday,
June 28, 2024, he shall show cause why such a claim might be viable, articulating his
theory of recovery and citing to other Program decisions in which similarly situated
claimants have succeeded. Respondent shall thereafter be given the opportunity to
oppose the response to the Order to Show Cause.

      IT IS SO ORDERED.

                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




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